         Case 2:13-cr-00053-JAM Document 134 Filed 12/27/17 Page 1 of 2
                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Morrison C. England Jr.              RE: Jose ANAYA
United States District Judge                       Docket Number: 0972 2:13CR00053-03
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Jose Anaya is requesting permission to travel to Nayarit, Mexico due to the sudden passing of his
brother, Samuel Anaya. The offender reports the need to travel to accompany his brother’s
remains for funeral processing. He is willing to provide all requested verifying documents. Mr.
Anaya is current with all supervision obligations, and the probation officer recommends approval
be granted.


Conviction and Sentencing Date:        On January 15, 2015, Jose Anaya was sentenced for the
offense of Conspiracy to Commit a Robbery Affecting Interstate Commerce (Class C Felony).


Sentence Imposed: 33 months custody of the Bureau of Prisons; 36 months of Supervised
Release; and $100 Special Assessment. Special conditions include: Search; Substance Abuse
Counseling and Testing; Aftercare co-payment;


Dates and Mode of Travel: The offender conveyed that he will depart for Mexico upon the
court rendering a finding as to his request to travel. He will be permitted to travel up to 10 days.
The offender has requested permission to travel by commercial bus lines, and has agreed to
provide his travel itinerary.


Purpose: Mr. Anaya is requesting permission to travel to Mexico to retrieve Samuel Anaya’s
corpse. The offender reports that his brother passed on December 22, 2017, and there is a limited
timeframe available prior to the mandatory cremation of the body. Due to the offender’s family
immigration status, he conveyed that he is the only legal relative that can enter Mexico. Mr.
                                                 1
                                                                                        REV. 05/2013
                                                         TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
          Case 2:13-cr-00053-JAM Document 134 Filed 12/27/17 Page 2 of 2

RE:      Jose Anaya
         Docket Number: 0972 2:13CR00053
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Anaya is willing to provide documentation upon receipt of his brother’s body, keep in contact
with the undersigned to report any changes, and provide evidence of the funeral service.

                                     Respectfully submitted,

                                     /s/ Molly R. McSorley

                                     Molly R. McSorley
                                United States Probation Officer


Dated:    December 26, 2017
          Modesto, California
          MM/lr
                                 /s/ Lonnie Stockton
 REVIEWED BY:               Lonnie Stockton
                            Supervising United States Probation Officer




                                 ORDER OF THE COURT

          ☒      Approved        ☐      Disapproved


 December 27, 2017

 Date                                        Honorable Morrison C. England, Jr.
                                             United States District Judge




                                                2
                                                                                      REV. 09/2013
                                                       TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
